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20                                 UNITED STATES DISTRICT COURT
21                                NORTHERN DISTRICT OF CALIFORNIA

22   WILBUR P. G.; WILFREDO BALTAZAR P.            Case No. 4:21-cv-04457-KAW
     E. a minor child; ERENDIRA C. M.;
23   YASMIN ALICIA M. C. a minor child;            STIPULATION AND ORDER
     JOSHUA G. G.; and KARL LUIS G. G.             REGARDING DEFENDANT’S
24   minor child,                                  DOCUMENT PRODUCTION

25                  Plaintiffs,                    Judge:     Hon. Kandis A. Westmore

26             v.                                  Date Filed: June 10, 2021

27   UNITED STATES OF AMERICA,                     Trial Date: May 6, 2024

28                  Defendant.


                STIPULATION AND ORDER REGARDING DEFENDANT’S DOCUMENT PRODUCTION
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 1             WHEREAS, on August 7, 2023, the Court entered an order (“Order,” Dkt. 93) compelling

 2   Defendant to produce certain documents;1

 3             WHEREAS, the Order compels the production of documents responsive to Plaintiffs’

 4   proposed “Search 4,” for reunification-related documents from Immigration and Customs

 5   Enforcement, by September 6, 2023 (Dkt. 93);

 6             WHEREAS, Defendant has not completed its production of Search 4 reunification-related

 7   documents from ICE or sought relief from the Court. Defendant’s forthcoming Search 4 production

 8   includes documents from ICE custodian Matthew Albence, whose deposition in this matter is

 9   tentatively scheduled for the first week of November;

10             WHEREAS, the Order further compels the production of documents responsive to Plaintiffs’

11   proposed “Search 3,” which seeks “policy-level” documents about the Zero-Tolerance Policy and its

12   implementation gathered from “plaintiff-specific” Government custodians who interacted directly

13   with Plaintiffs, within thirty (30) days of the Parties’ agreement on search terms (Dkt. 93);

14             WHEREAS, the Order also compels Defendant to produce documents responsive to

15   Plaintiffs’ Requests for Production 87-89, which seek documents related to family separation and

16   reunification that the Department of Health and Human Services sent to the Government contract

17   shelters that housed the minor Plaintiffs after they were separated from their parents, within thirty (30)

18   days of the Parties’ agreement on search terms (Dkt. 93);

19             WHEREAS, the Parties agreed to search terms for Search 3 and RFPs 87-89 on August 29,

20   2023, and the Court-ordered deadline to produce responsive documents was therefore September 28,

21   2023;

22             WHEREAS, Defendant notified Plaintiff on September 28, 2023, “that HHS experienced a

23   delay receiving the results of its searches from its eDiscovery contractor” but that, as of that date,

24   HHS had received the data and was prioritizing its review;

25             WHEREAS, HHS shared hit counts for the searches, which returned approximately 30,000

26   documents, on October 3, 2023, and proposed several ways to narrow the agreed-upon terms;

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     1
28     Plaintiffs encountered technical difficulties while filing this joint stipulation; this version
     represents the Parties’ final agreement.
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 1             WHEREAS, Plaintiffs raised Defendant’s failure to timely produce documents in response to

 2   Search 3, Search 4, and RFPs 87-89 with the Court (see Dkts. 108, 118) and the Court ordered the

 3   Parties to meet and confer regarding Defendant’s document production and to submit a stipulation and

 4   proposed order with agreed upon dates by which Defendant will produce all remaining documents

 5   (Dkt. 120);

 6             THEREFORE, subject to the Court’s approval, the Parties stipulate as follows:

 7             1.      The Parties agree that the Order and the Parties’ subsequent and related agreements

 8   regarding search terms should be amended to the revised search terms for Search 3, Search 4, and

 9   RFPs 87-89 set forth in Exhibit A;

10             2.      Defendant will produce all of Mr. Albence’s Search 4 documents by October 25,

11   2023;

12             3.      Defendant will not move to quash Mr. Albence’s deposition or seek to limit its scope;

13             4       Defendant will produce the remaining Search 4 documents from ICE by November

14   10, 2023;

15             5.      Defendant will produce all Search 3 and RFP 87-89 documents from HHS by January

16   15, 2024;

17             6.      Defendant will continue to produce ESI metadata for all documents it produces and

18   agrees to promptly confer with Plaintiffs about any deficiencies regarding the metadata for documents

19   it has produced or will produce;

20             7.      Defendant agrees to two Rule 30(b)(6) depositions, not to exceed five hours each of

21   on-the-record time, regarding these documents. One deposition will be of DHS/ICE and the other

22   will be of HHS. The scope of these depositions will be limited to the documents produced after

23   October 27, 2023. The depositions will be further limited to issues regarding the authenticity and

24   admissibility of documents produced after October 27, 2023 and to the subject matter underlying such

25   documents. The Parties agree to confer further regarding the nature of the testimony regarding

26   authenticity and admissibility that Plaintiffs seek. Plaintiffs agree to identify a reasonable number of

27   particular documents about which they will seek testimony, not to exceed 100 documents per

28   deponent, and agree to provide a list of such documents to Defendant at least 15 days in advance of

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 1   deposition, and to make best efforts to provide the list more than 15 days in advance. The Parties

 2   agree that, in the interest of conserving party resources, these depositions shall take place in February

 3   2024, if necessary, following the currently scheduled settlement conference.

 4             8.    Because the documents still under production focus on ICE and HHS’s planning for

 5   family reunification (and Plaintiffs’ allegations regarding the lack of such planning) and HHS’s

 6   coordination with contract shelters regarding family separation and reunification (and Plaintiffs’

 7   allegations regarding the lack of such coordination), and because such production will continue

 8   through the summary judgment briefing period, Defendant acknowledges that Plaintiffs reserve the

 9   right to object under Federal Rule of Civil Procedure 56(d) to any summary judgment arguments

10   raised by Defendants regarding (i) ICE or HHS’s planning for family reunification and/or (ii)

11   coordination between HHS and contract shelters. Except to that extent, this agreement does not

12   preclude Defendant from raising generally-applicable jurisdictional defenses at summary judgment.

13   This agreement does not restrict Plaintiffs’ ability to oppose summary judgment.

14

15   IT IS SO STIPULATED.

16

17   Dated: October 13, 2023                                    KEKER, VAN NEST & PETERS LLP
18

19                                                       By:    /s/ Travis Silva
                                                                BROOK DOOLEY
20                                                              TRAVIS SILVA
                                                                CHRISTOPHER S. SUN
21                                                              CHRISTINA LEE
                                                                JACQUELINE CONCILLA
22                                                              EVAN H. MCINTYRE

23                                                              Attorneys for Plaintiffs

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 1   Dated: October 13, 2023                                    LAWYERS’ COMMITTEE FOR CIVIL
                                                                RIGHTS OF THE SAN FRANCISCO
 2                                                              BAY AREA

 3
                                                         By:    /s/ Jordan Wells
 4
                                                                JORDAN WELLS
 5                                                              VICTORIA PETTY

 6                                                              Attorneys for Plaintiffs

 7   Dated: October 13, 2023                                    AMERICAN CIVIL LIBERTIES UNION
                                                                FOUNDATION OF NORTHERN
 8                                                              CALIFORNIA

 9
                                                         By:    /s/ Bree Bernwanger
10                                                              BREE BERNWANGER
11                                                              Attorneys for Plaintiffs
12

13

14   Dated: October 13, 2023                             By:    ISMAIL J. RAMSEY
                                                                United States Attorney
15

16                                                              /s/ Kenneth W. Brakebill
                                                                KENNETH W. BRAKEBILL
17                                                              KELSEY J. HELLAND
                                                                Assistant United States Attorneys
18                                                              Attorneys for Defendant
19

20

21                                           ECF ATTESTATION
22             In accordance with Civil Local Rule 5(i)(3), I, Travis Silva, attest that I have obtained
23   concurrence in the filing of this document from all other signatories listed here.
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 1                                                     ORDER

 2             Pursuant to stipulation, IT IS SO ORDERED that:
 3             1.     Search 3, Search 4, and the searches corresponding to RFPs 87-89 are amended as set

 4   forth in Exhibit A;

 5             2.     Defendant will produce all of Mr. Albence’s Search 4 documents by October 25,

 6   2023;

 7             3.     Defendant will not move to quash Mr. Albence’s deposition or seek to limit its scope;

 8             4.     Defendant will produce the remaining Search 4 documents from ICE by November

 9   10, 2023;

10             5.     Defendant will produce all Search 3 and RFP 87-89 documents from HHS by January

11   15, 2024;

12             6.     Defendant will continue to produce ESI metadata for all documents it produces and

13   will promptly confer with Plaintiffs about any deficiencies regarding the metadata for documents it

14   has produced or will produce;

15             7.     Defendant will produce witnesses for two Rule 30(b)(6) depositions, not to exceed

16   five hours each of on-the-record time, regarding documents produced after October 27, 2023. One

17   deposition will be of DHS/ICE and the other will be of HHS. The depositions will be limited to

18   issues regarding the authenticity and admissibility of documents produced after October 27, 2023 and

19   to the subject matter underlying such documents. The Parties will confer further regarding the nature

20   of the testimony regarding authenticity and admissibility that Plaintiffs seek. Plaintiffs will identify a

21   reasonable number of particular documents about which they will seek testimony, not to exceed 100

22   documents per deponent. Plaintiffs will provide a list of such documents to Defendant at least 15 days

23   in advance of deposition, and will make best efforts to provide the list more than 15 days in advance.

24   These depositions shall take place in February 2024, if necessary, following the currently scheduled

25   settlement conference.

26             8.     Because the documents still under production focus on ICE and HHS’s planning for

27   family reunification (and Plaintiffs’ allegations regarding the lack of such planning) and HHS’s

28   coordination with contract shelters regarding family separation and reunification (and Plaintiffs’

                                                         5
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 1   allegations regarding the lack of such coordination), and because such production will continue

 2   through the summary judgment briefing period, Defendant acknowledges that Plaintiffs reserve the

 3   right to object under Federal Rule of Civil Procedure 56(d) to any summary judgment arguments

 4   raised by Defendants regarding (i) ICE or HHS’s planning for family reunification and/or (ii)

 5   coordination between HHS and contract shelters. Except to that extent, this Order does not preclude

 6   Defendant from raising generally-applicable jurisdictional defenses at summary judgment. This

 7   Order does not restrict Plaintiffs’ ability to oppose summary judgment.

 8             SO ORDERED.

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10   DATED: October 17, 2023                               __________________________________
                                                           HON. KANDIS A. WESTMORE
11                                                         United States Magistrate Judge
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            EXHIBIT A
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                                  Exhibit A
P.G. et al. v. United States – Parties’ Edits to Court-Ordered and Agreed-Upon Searches

 I.      Search 4: Reunification-Related Search Term for ICE
         a. Custodians:
                i. Kenneth Kazlauskas
               ii. James Vance
              iii. ICE Common Discovery Custodians (including Matthew Albence)
         b. Search Term:
                i. (Reuni* OR track*) w/10 (immigrat* OR migrant* OR famil* OR alien*
                   OR parent* OR mother* OR father* OR guardian* OR child* OR kid*
                   OR toddler* OR infant* OR daughter* OR son* OR minor* OR FAMU
                   OR FMAU OR FMUA OR UAC* or unaccompan* OR separat*)
         c. Date Range: Same as Common Discovery ICE Custodians

 II.     Search 3: “Plaintiff-Specific” “Policy-Level” HHS Documents
         a. Custodians:
                i. Dana Kiett
               ii. Mark Boss
         b. Search Terms: Same as Common Discovery HHS Search Terms
         c. Date Range: Same as Common Discovery HHS Date Range

 III.    Requests for Production 87-89
         a. Custodians:
                i. Dana Kiett
               ii. Mark Boss
              iii. Ivonne Velasquez
              iv. Jill Volovar
         b. Search Terms:
                i. Separat* w/5 (famil* OR FAMU OR FMUA OR child* OR kid* OR
                   parent* OR mother* OR father*) AND (@cayugacenters.org or
                   @swkey.org)
               ii. prosecut* w/5 (place* OR refer*) AND (@cayugacenters.org or
                   @swkey.org)
              iii. "Zero Tolerance" w/10 (child* OR famil* OR father* OR guardian* OR
                   infant* OR kid* OR minor* OR mother* OR parent* OR tender* OR
                   separat*) AND (@cayugacenters.org or @swkey.org)
              iv. (“El Paso”) w/3 (initiative or pilot or program) AND (@cayugacenters.org
                   or @swkey.org)
               v. (Reuni* OR track*) w/10 (immigrat* OR migrant* OR famil* OR alien*
                   OR parent* OR mother* OR father* OR guardian* OR child* OR kid*
                   OR toddler* OR infant* OR daughter* OR son* OR minor* OR FAMU
                   OR FMAU OR FMUA OR UAC* or unaccompan* OR separat*) AND
                   (@cayugacenters.org or @swkey.org)
         c. Date Range: April 6, 2018 – July 25, 2018
